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Gre o M. Garrison §SBN 165215] § § §§ §§
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Attorneys for Plaintiff, GREGORY PIERRO

UNITED sTATEs Dlslrlilcr CoURT
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§ CaseNo.’oa cv 1136 .| ch

GREGORY PIERRO, an individual, §
` COMPLAINT FOR DAMAGES AND

. . DEMAND F()R JURY TRIAL
Plalnt1ff, al ~
1) Violation of Civil Rights
V_ (42 U.S.C. § 1983)

2) Supervisor Liability for
Violation 0 Civil Rights

JOSHUA YOUNG, an 1nd1v1dual, (42 U_S_C_ § 1983)

JOHN CLARK, an individual, and `
DOES 1 through 20, inclusive,

Defendants.

 

 

JURISDICTION

l. This action is brought pursuant to 42 U.S.C. Sections 1983, et seq. and the
Fourth and Fourteenth Amendments to the United States Constitution. Jurisdiction is
founded on 28 U.S.C. Section 1331 and 1343 and the aforementioned statutory and
Constitutional provisions.

PARTIES _

2. Plaintiff GREGORY PIERRO (“PLAINTIFF”) is and was at all material
times mentioned herein residing in the County of San Diego, State of California.
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Complaint 1

 

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3. PLAINTIFF is informed and thereon alleges that at all times relevant
hereto, defendants JOSHUA YOUNG (“YOUNG”) and JOHN CLARK (“CLARK”)
were residents of the County of San Diego, State of California, and were working as
police officers for the City of Oceanside, California.

4. The City of Oceanside, California is a municipality and public entity under
the laws of the State of California and is the employer of defendants YOUNG and
CLARK. The individual defendants, and each of them, acted under color of law with
all actions and inactions described herein.

5. At all times mentioned herein defendants DOES lthrough 20 (hereinafcer

“DEFENDANTS”) were employees of the City of Oceanside, California and in doing
the acts hereinafter described acted under color of law with all actions and inactions
described herein. The acts of all DEFENDANTS and each of them, were also done
under the color and pretense of the statutes, ordinances, regulations, customs and usages
of the State of California.

6. The true names or capacities whether individual, corporate, associate or
otherwise, of defendants named herein as DOES l through 20 are unknown to
PLAINTIFF, who therefore sues said defendants by said fictitious names. PLAINTIFF
will amend this complaint to show said defendants’ true names and capacities when the
same have been ascertained. PLAINTIFF is informed and believes and thereon alleges,
that all defendants sued herein as DOES are in some manner responsible for the acts and
injuries alleged herein.

7. PLAINTIFF is informed and believes and therefore alleges that at all times
mentioned herein each of the defendants was the agent, servant and/or employee of each
of the remaining defendants and was, in doing the acts herein alleged, acting within the
course and scope of this agency and/or employment and with the permission, consent
and authority of their co-defendants and each of them, and each is responsible in some
manner for the occurrences hereinafter alleged; and that PLAINTIFF’s injuries were

legally caused by the actions of each.

 

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Complaint 2

 

 

 

 

 

 

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GENERAL ALLEGATIONS:
8. On the evening of Thursday June 29, 2006, Robert Pierro was driving a
' Cadillac Escalade (the “VEHICLE”) in Oceanside, California near Carlsbad Boulevard.
PLAINTIFF, Robert Pierro’s brother, was riding in the passenger seat.

9. At approximately 11:30 p.m a police vehicle driven by Oceanside,
California police officer YOUNG stopped and detained Robert Pierro’s VEHICLE.
YOUNG approached the VEHICLE from the driver side and requested Robert Pierro’s
drivers license and registration Thereafter, YOUNG asked Robert Pierro to step out of
the VEHICLE and YOUNG administered a field sobriety test, PLAINTIFF remained in
the passenger seat of the VEHICLE.

10. As YOUNG administered the field sobriety test, another Oceanside police
vehicle arrived on the scene for backup. This vehicle was driven by CLARK, another
Officer from the Oceanside, California Police Department.

1 l. Afcer administering the field sobriety test, YOUNG arrested Robert Pierro
on suspicion of driving under the influence of alcohol. Thereafter, Robert Pierro was
handcuffed and transported by CLARK to his vehicle, Robert Pierro never complained
of his arrest, argued with or threatened YOUNG or CLARK,

12. After YOUNG told PLAINTIFF that his brother was under arrest for
“DUI”, PLAINTIFF began to plead with the officers not to arrest his brother.

13. As CLARK was escorting Robert Pierro to his patrol vehicle, YOUNG
remained at the passenger side window talking with PLAINTIFF who continued to_
plead with YOUNG to release his brother.

14. PLAINTIFF then attempted to exit the VEHICLE by opening the passenger
door. YOUNG ordered PLAINTIFF to remain in the VEHICLE and placed his hands
upon the door. PLAINTIFF complied. After being told to remain in the VEHICLE,
PLAINTIFF kept his hands visibly placed upon the dashboard.

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Complaint 3

 

 

 

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15. After YOUNG noticed that CLARK had secured Robert Pierro in his patrol
vehicle and Was returning, YOUNG ordered PLAINTIFF to exit the VEHICLE.
PLAINTIFF complied by opening the passenger side door and stepping out of the '
VEHICLE. As PLAINTIFF stepped out onto the sidewalk, he raised his hands above
his head.

16. Almost immediately after stepping onto the sidewalk, as ordered by officer
YOUNG, officer CLARK charged PLAINTIFF from behind and jumped on him.
YOUNG punched PLAINTIFF in the back of the head, grabbed PLAINTIFF and tackled
him. CLARK and YOUNG then repeatedly punched and kicked PLAINTIFF, striking
him in the head repeatedly with their fists and feet. PLAINTIFF lay helpless on the
sidewalk while YOUNG and CLARK attacked him. PLAINTIFF suffered multiple
lacerations and cuts which bled profusely from wounds suffered during the attack.
PLAINTIFF was emotionally traumatized and humiliated as a result of the beating.
PLAINTIFF was arrested and charged with violation of California Penal Code Section
l48(a)(1), resisting arrest, Unbeknownst to CLARK and YOUNG, the entire episode
described above was recorded on video tape by a security camera and will be presented
at trial.

17. On January 31, 2007, PLAINTIFF was acquitted of violating P.C. Section
l48(a)(l).

FIRST CAUSE OF ACTION
[42 U.S.C. § 1983 Civil Rights Violations]

18. PLAINTIFF hereby re-alleges paragraphs l through 17, inclusive, and
incorporates them herein by said reference as though set forth in full.

19. The acts alleged above, particularly the acts by defendants YOUNG and
CLARK of attacking and beating an innocent, unarmed man multiple times without
justification or necessity, constituted an excessive and unreasonable use of force and
thus an unlawful seizure, in violation of PLAINTIFF’S rights guaranteed by the United
States Constitution, particularly the Fourth Amendment thereto. PLAINTIFF is

 

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therefore entitled to damages pursuant to`Title 42 U.S.C. Section 1983, et seq.

20. Further, by the acts alleged above, defendants YOUNG and CLARK
unconstitutionally retaliated against PLAINTIFF because he questioned police conduct.
YOUNG and CLARK’S retaliatory attack and beating of PLAINTIFF violated
PLAINTIFF’ S rights guaranteed by the United States Constitution, particularly the First
Amendment thereto. PLAINTIFF is therefore entitled to damages pursuant to Title 42
U.S.C. Section 1983, et seq.

21 . As a result of this attack as described above, PLAINTIFF suffered injuries
requiring medical care. PLAINTIFF has also suffered, and will continue to suffer, pain,
humiliation, embarrassment and severe emotional distress, lost earnings and lost
opportunity all to his damage in an amount to be proven at trial.

22. In committing the acts alleged above, defendants YOUNG and CLARK
acted maliciously and/or were guilty of a wanton and reckless disregard for the rights
and safety of PLAINTIFF, and by reason thereof, PLAINTIFF demands exemplary and
punitive damages in an amount to be proven at trial.

SECOND CAUSE OF ACTION
SUPERVISORY LIABILITY FOR VIOLATION OF
FEDERAL CIVIL RIGHTS
[42 U. S. C. § 1983]

23. PLAINTIFF hereby re-alleges paragraphs l through 22, inclusive, and
incorporates them herein by said reference as though set forth in full.

24. DOE’S 1 - 20's action and inactions, as described herein, evince DOE’S l-
20's failure to properly supervise and train YOUNG, CLARK and other subordinate
officers, and that this failure was deliberately indifferent to the probable consequences
or constituted and implicit authorization of such consequences At all times relevant
herein, DOE’S 1-20 had notice of YOUNG and CLARK’S propensity to use excessive
force against members of the public, yet allowed YOUNG and CLARK to continue
engaging in such unlawful behavior with impunity. YOUNG and CLARK’S use of

excessive force against PLAINTIFF was the natural and direct consequence of DOE’S

 

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1-20's actions and inactions, as described herein,

25. As a direct and proximate result of DOE’S l-20's inexcusable deliberate
indifference and implicit authorization of YOUNG and CLARK’S use of excessive
force, PLAINTIFF has suffered injuries requiring medical care. PLAINTIFF has also
suffered, and will continue to suffer, pain, humiliation, embarrassment and severe
emotional distress, lost earnings and lost opportunity all to his damage in an amount to
be proven at trial.

WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS, and
each of them, as follows:

FIRST CAUSE OF ACTION

l. For general and compensatory damages against defendants and each of

them in an amount to be proven at trial.

2. For exemplary and punitive damages against defendants and each of them

in an amount to be proven at trial.
F or costs of suit herein, including reasonable attorney’s fees; and

4. For such other and further relief as the Court deems proper.

SECOND CAUSE OF ACTION

1. For general and compensatory damages against defendants and each of

them in an amount to be proven at trial.

2. For costs of suit herein, including reasonable attorney’s fees; and

3. For such other and further relief as the Court deems proper.

Dated: June 25, 2008 GARRISON & McINNIS, L.L.P.

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for §13?111111‘ GREGORY PIERizo

 

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Dated: June 25, 2008

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DEMAND FOR JURY

Plaintiff GREGORY PIERRO hereby demands a jury trial in this action.

GARRISON & McINNIS, L.L.P.

 

 

 

 

 

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SUUTHERN DISTRICT DF CALIFORNIA
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CIVIL COVER SHEET

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l. (a) PLA|NTIFFS
GREGORY P|ERRO

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAiNTiFF CASES)

(C) Attomey’S (Firm Name. Address, and Telephoue Number)

Garrison 81 Mc|nnis,L.L.P. Te|ephone: (619) 299-4877
2650 Camino del Rio North, Suite 108 San Diego California

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Vl. CAUSE OF ACTlON

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